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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. ______________


JOHNS MANVILLE CORPORATION, a
Delaware corporation, and JOHNS MANVILLE,
a Delaware corporation,

                Plaintiffs,
           v.

KNAUF INSULATION, LLC, a Delaware
corporation, WALTER A. JOHNSON,
individually, KNAUF INSULATION GMBH, a
German corporation, KNAUF INSULATION
SPRL, a Belgium corporation, KNAUF
INSULATION LIMITED, a United Kingdom
corporation, and GEBR. KNAUF
VERWALTUNGSGESELLSCHAFT KG, a
German corporation,

                Defendants.


                          COMPLAINT AND JURY TRIAL DEMAND



       Plaintiffs Johns Manville Corporation and Johns Manville (collectively “JM”), by way of

Complaint against Defendants Knauf Insulation GmbH, Knauf Insulation, LLC, Knauf Insulation

SPRL, Knauf Insulation Limited, and Gebr. Knauf Verwaltungsgesellschaft KG (collectively

“Knauf”) and Defendant Walter A. Johnson (“Johnson”) (collectively “Defendants”), allege as

follows:




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                                 NATURE OF THE ACTION

         1.    This is an action for patent infringement. Defendants have violated, and continue

to violate, the patent laws of the United States, 35 U.S.C. §§ 271 and 281-285, et seq., by

infringing U.S. Patent No. 6,266,979 (“the ’979 patent”).

         2.    This is also an action for trade secret misappropriation. Defendants have

misappropriated JM’s trade secrets in violation of the Colorado Uniform Trade Secrets Act,

C.R.S. § 7-74-102(4).

         3.    This is also an action for breach of contract. Johnson breached his employee

agreement with Schuller Corporation, now known as Johns Manville Corporation.

         4.    This is also an action for breach of implied covenant of good faith and fair

dealing. Johnson breached the implied covenant of good faith and fair dealing inherent in the

terms and conditions of his employee agreement with Schuller Corporation, now known as Johns

Manville Corporation.

                                            PARTIES

         5.    Plaintiff Johns Manville Corporation is a corporation organized and existing

under the laws of the State of Delaware, having a principal place of business at 717 17th Street,

Denver, Colorado 80202.

         6.    Plaintiff Johns Manville is a corporation organized and existing under the laws of

the State of Delaware, having a principal place of business at 717 17th Street, Denver, Colorado

80202.




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       7.     Defendant Knauf Insulation, LLC is a limited liability company organized and

existing under the laws of Delaware, having a principal place of business at One Knauf Drive,

Shelbyville, Indiana 46176.

       8.     Defendant Knauf Insulation GmbH is a foreign limited liability company

organized and existing under the laws of the country of Germany, having a principal place of

business at Am Bahnhof 7, 97346 Iphofen, Germany.

       9.     Defendant Knauf Insulation SPRL is a foreign limited liability company

organized and existing under the laws of the country of Belgium, having a principal place of

business at Rue de Maestricht 95, 4600 Visé, Belgium.

       10.    Defendant Knauf Insulation Limited is a United Kingdom company having a

principal place of business in St Helens, Merseyside, United Kingdom.

       11.    Defendant Gebr. Knauf Verwaltungsgesellschaft KG is organized and existing

under the laws of Germany, having a principal place of business at Am Bahnhof 7, 97346

Iphofen, Germany.

        12.   Defendant Walter A. Johnson is an individual who resides in Indiana. On

information and belief, he resides at 5670 Treeline Dr., Columbus, IN 47201-3903. Johnson

was employed by Johns Manville Corporation in Colorado from 1992 to 2007, when he

voluntarily terminated his employment. Johnson then consulted for Johns Manville from 2007

to 2008.

                               JURISDICTION AND VENUE

       13.    This Court has subject matter jurisdiction over the patent claims in this action

between all of the parties pursuant to 28 U.S.C. § 1338(a) and 28 U.S.C. § 1331. This Court has


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supplemental jurisdiction over the remaining claims between all of the parties pursuant to

28 U.S.C § 1367.

       14.     This Court has diversity jurisdiction over this action between JM and Johnson

pursuant to 28 U.S.C. § 1332(a) because there is diversity of parties, as JM is a citizen of

Colorado and Johnson is an Indiana resident, and the amount in controversy exceeds $75,000

exclusive of interest and costs. This Court has supplemental jurisdiction over the remaining

claims between JM and Johnson pursuant to 28 U.S.C § 1367.

       15.     This Court has diversity jurisdiction over this action between JM and Knauf

Insulation GmbH pursuant to 28 U.S.C. § 1332(a) because there is diversity of parties, as JM and

Knauf Insulation GmbH are residents of or are incorporated in different states, and the amount in

controversy exceeds $75,000 exclusive of interest and costs. This Court has supplemental

jurisdiction over the remaining claims between JM and Knauf Insulation GmbH pursuant to

28 U.S.C § 1367.

       16.     This Court has diversity jurisdiction over this action between JM and Knauf

Insulation, LLC pursuant to 28 U.S.C. § 1332(a) because there is diversity of parties, as JM and

Knauf Insulation, LLC are residents of or are incorporated in different states, and the amount in

controversy exceeds $75,000 exclusive of interest and costs. This Court has supplemental

jurisdiction over the remaining claims between JM and Knauf Insulation, LLC pursuant to

28 U.S.C § 1367.

       17.     This Court has diversity jurisdiction over this action between JM and Knauf

Insulation SPRL pursuant to 28 U.S.C. § 1332(a) because there is diversity of parties, as JM and

Knauf Insulation SPRL are residents of or are incorporated in different states, and the amount in


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controversy exceeds $75,000 exclusive of interest and costs. This Court has supplemental

jurisdiction over the remaining claims between JM and Knauf Insulation SPRL pursuant to

28 U.S.C § 1367.

       18.     This Court has diversity jurisdiction over this action between JM and Knauf

Insulation Limited pursuant to 28 U.S.C. § 1332(a) because there is diversity of parties, as JM

and Knauf Insulation Limited are residents of or are incorporated in different states, and the

amount in controversy exceeds $75,000 exclusive of interest and costs. This Court has

supplemental jurisdiction over the remaining claims between JM and Knauf Insulation Limited

pursuant to 28 U.S.C § 1367.

       19.     This Court has diversity jurisdiction over this action between JM and Gebr. Knauf

Verwaltungsgesellschaft KG pursuant to 28 U.S.C. § 1332(a) because there is diversity of

parties, as JM and Gebr. Knauf Verwaltungsgesellschaft KG are residents of or are incorporated

in different states, and the amount in controversy exceeds $75,000 exclusive of interest and

costs. This Court has supplemental jurisdiction over the remaining claims between JM and Gebr.

Knauf Verwaltungsgesellschaft KG pursuant to 28 U.S.C § 1367.

        20.    This Court has general and specific personal jurisdiction over Johnson pursuant to

the Colorado Long-Arm Statute, C.R.S. § 13-1-124, and the United States Constitution. For the

fourteen years Johnson was employed by Johns Manville Corporation in Colorado he lived in

Colorado. The confidential and proprietary information that are the subject of this action and

which Johnson received as part of his employment relationship with Johns Manville

Corporation was developed with the participation of Johnson during his employment at Johns

Manville Corporation and maintained by JM and Johnson in Colorado. The patent and trade


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secrets at issue in this case were developed with the participation of Johnson during his

employment at Johns Manville Corporation while Johnson was located in Colorado. Johnson

was a named inventor on the ’979 patent at issue in this action and assigned the ’979 patent to

Johns Manville International, now known as Johns Manville, in a document signed in Colorado

during Johnson’s employment at Johns Manville Corporation in Colorado. The employee

agreement between Johns Manville Corporation and Johnson was signed by Johnson and Johns

Manville Corporation in Colorado, during Johnson’s employment at Johns Manville

Corporation in Colorado. At all pertinent times, the employee agreement created an ongoing

obligation for Johnson to maintain the confidentiality of JM’s confidential and proprietary

information—including, but not limited to, the confidential and proprietary information at issue

in this action and developed with the participation of Johnson, and maintained by JM and

Johnson in Colorado. At all pertinent times, insulation made according to the JM-developed

trade secrets at issue in this action was and is currently being sold by Knauf in Colorado. In

addition, at all pertinent times, insulation made using the JM patented spinner disc at issue in

this action was and is currently being sold by Knauf in Colorado. As such, at all pertinent

times, many of the activities and harm regarding misappropriation and dissemination of the

trade secrets and confidential information at issue in this action, and flowing directly from

Johnson’s improper acts, have occurred and continue to occur in Colorado. At all pertinent

times, JM performs significant research and development regarding its insulation products and

its processes for making those products which are the subject of this action in Colorado. In fact,

at all pertinent times, Johnson directly participated in many of the research and development

activities that are the subject of this action and which arise directly out of Johnson’s


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employment activities with Johns Manville Corporation while he resided in Colorado. At all

pertinent times, JM markets, finances, and otherwise supports its insulation business in

Colorado. At all pertinent times, JM sells insulation in Colorado using the JM patented spinner

disc at issue in this action and according to the JM trade secrets at issue in this action which

were developed and maintained with the participation of Johnson during his employment at

Johns Manville Corporation while he was located in Colorado. At all pertinent times, Johnson

acted with knowledge that result of his actions would cause harm to JM in Colorado. Further,

the breach of Johnson’s employee agreement occurred in Colorado.

       21.     This Court has personal jurisdiction over Knauf Insulation GmbH pursuant to the

Colorado Long-Arm Statute, C.R.S. § 13-1-124, and the United States Constitution because, on

information and belief, at all pertinent times, Knauf Insulation GmbH actively and regularly

engages in business in the State of Colorado, sold and continues to sell products in Colorado, and

derived and continues to derive substantial revenue from things used or consumed in the State of

Colorado. The JM patent and trade secrets at issue in this action were developed by JM in

Colorado. At all pertinent times, insulation made according to the JM trade secrets at issue in

this case was and is currently being sold by Knauf in Colorado. In addition, at all pertinent

times, insulation made using the JM patented spinner disc at issue in this action was and is

currently being sold by Knauf in Colorado. At all pertinent times, many of the activities and

harm regarding misappropriation and dissemination of JM trade secrets and JM confidential

information occurred in Colorado. Further, at all pertinent times, JM sold and continues to sell

insulation in Colorado that was made using the JM patented spinner disc at issue in this action

and according to the JM trade secrets at issue in this action. At all pertinent times, many of the


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activities and harm regarding misappropriation and dissemination of JM’s trade secrets and

confidential information occurred in Colorado. In addition, at all pertinent times, Knauf

Insulation GmbH acted with knowledge that result of its actions would cause harm to JM in

Colorado.

       22.     This Court has personal jurisdiction over Knauf Insulation, LLC pursuant to the

Colorado Long-Arm Statute, C.R.S. § 13-1-124, and the United States Constitution because, on

information and belief, at all pertinent times, Knauf Insulation, LLC actively and regularly

engages in business in the State of Colorado, sold and continue to sell products in Colorado, and

derived and continue to derive substantial revenue from things used or consumed in the State of

Colorado. The JM patent and trade secrets at issue in this action were developed by JM in

Colorado. At all pertinent times, insulation made according to the JM trade secrets at issue in

this action was and is currently being sold by Knauf in Colorado. In addition, at all pertinent

times, insulation made using the JM patented spinner disc at issue in this action was and is

currently being sold by Knauf in Colorado. At all pertinent times, many of the activities and

harm regarding misappropriation and dissemination of JM’s trade secrets and confidential

information occurred in Colorado. Further, at all pertinent times, JM sold and continues to sell

insulation in Colorado using the JM patented spinner disc at issue in this action and according to

the JM trade secrets at issue in this action. At all pertinent times, many of the activities and harm

regarding misappropriation and dissemination of JM’s trade secrets and confidential information

occurred in Colorado. In addition, at all pertinent times, Knauf Insulation, LLC acted with

knowledge that result of its actions would cause harm to JM in Colorado.




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       23.     This Court has personal jurisdiction over Knauf Insulation SPRL pursuant to the

Colorado Long-Arm Statute, C.R.S. § 13-1-124, and the United States Constitution because, on

information and belief, at all pertinent times, Knauf Insulation SPRL actively and regularly

engages in business in the State of Colorado, sold and continues to sell products in Colorado, and

derived and continues to derive substantial revenue from things used or consumed in the State of

Colorado. The JM patent and trade secrets at issue in this action were developed by JM in

Colorado. At all pertinent times, insulation made according to the JM trade secrets at issue in

this action was and is currently being sold by Knauf in Colorado. In addition, at all pertinent

times, insulation made using the JM patented spinner disc at issue in this action was and is

currently being sold by Knauf in Colorado. At all pertinent times, many of the activities and

harm regarding misappropriation and dissemination of JM’s trade secrets and confidential

information occurred in Colorado. Further, at all pertinent times, JM sold and continues to sell

insulation in Colorado using the JM patented spinner disc at issue in this action and according to

the JM trade secrets at issue in this action. At all pertinent times, many of the activities and harm

regarding misappropriation and dissemination of JM’s trade secrets and confidential information

occurred in Colorado. In addition, at all pertinent times, Knauf Insulation, LLC acted with

knowledge that result of its actions would cause harm to JM in Colorado.

       24.     This Court has personal jurisdiction over Knauf Insulation Limited pursuant to the

Colorado Long-Arm Statute, C.R.S. § 13-1-124, and the United States Constitution because, on

information and belief, at all pertinent times, Knauf Insulation Limited actively and regularly

engages in business in the State of Colorado, sold and continues to sell products in Colorado, and

derived and continues to derive substantial revenue from things used or consumed in the State of


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Colorado. The JM patent and trade secrets at issue in this action were developed in Colorado.

At all pertinent times, insulation made according to the JM trade secrets at issue in this action

was and is currently being sold by Knauf in Colorado. In addition, at all pertinent times,

insulation made using the JM patented spinner disc at issue in this action was and is currently

being sold by Knauf in Colorado. At all pertinent times, many of the activities and harm

regarding misappropriation and dissemination of JM’s trade secrets and confidential information

occurred in Colorado. Further, at all pertinent times, JM sold and continues to sell insulation in

Colorado using the JM patented spinner disc at issue in this action and according to the JM trade

secrets at issue in this action. At all pertinent times, many of the activities and harm regarding

misappropriation and dissemination of trade secrets and confidential information occurred in

Colorado. In addition, at all pertinent times, Knauf Insulation, LLC acted with knowledge that

result of its actions would cause harm to JM in Colorado.

       25.     This Court has personal jurisdiction over Gebr. Knauf Verwaltungsgesellschaft

KG pursuant to the Colorado Long-Arm Statute, C.R.S. § 13-1-124, and the United States

Constitution because, on information and belief, at all pertinent times, Gebr. Knauf

Verwaltungsgesellschaft KG actively and regularly engages in business in the State of Colorado,

sold and continues to sell products in Colorado, and derived and continues to derive substantial

revenue from things used or consumed in the State of Colorado. The JM patent and trade secrets

at issue in this action were developed in Colorado. At all pertinent times, insulation made

according to the JM trade secrets at issue in this action was and is currently sold by Knauf in

Colorado. In addition at all pertinent times, insulation made using the JM patented spinner disc

at issue in this action was and is currently being sold by Knauf in Colorado. At all pertinent


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times, many of the activities and harm regarding misappropriation and dissemination of JM’s

trade secrets and confidential information occurred in Colorado. Further, at all pertinent times,

JM sold and continues to sell insulation in Colorado using the JM patented spinner disc at issue

in this action and according to the JM trade secrets at issue in this action. At all pertinent times,

many of the activities and harm regarding misappropriation and dissemination of JM’s trade

secrets and confidential information occurred in Colorado. In addition, at all pertinent times,

Knauf Insulation, LLC acted with knowledge that result of its actions would cause harm to JM in

Colorado.

        26.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and 1400 because

a substantial portion of the events giving rise to the claim occurred in this judicial district.

                                          BACKGROUND

I.      JM’s Business

        27.     Since its founding over 150 years ago, JM has focused on developing materials to

make diverse environments stronger, more durable, and more energy efficient and comfortable.

JM manufactures premium-quality building and mechanical insulation, commercial roofing,

glass fibers and nonwoven materials for commercial, industrial and residential applications. JM

products are used in a wide variety of industries including building products, aerospace,

automotive and transportation, filtration, commercial interiors, waterproofing and wind energy.

JM’s name has become synonymous with innovation and quality in the building and specialty

materials industry.

        28.     Through its extensive internal research and development efforts, JM is an

innovator of building material solutions. JM has been a pioneer in the insulation and fiberglass


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industry for decades and was an initial innovator of rotary fiberization over 40 years ago. JM has

continued to be vigorously engaged in research and development directed to fiberization and

spinner disc technology. JM remains a major manufacturer and markets a multitude of thermal

and acoustical insulation products directly using the patented spinner disc and trade secret

technology that is the subject of this action, with JM’s Insulation Systems Division making up a

substantial portion of JM’s total revenues.

       29.     JM has over 7,000 global employees, and provides products to more than 85

countries and operates 44 manufacturing facilities in North America, Europe, and China.

       30.     Since 1988, JM’s global headquarters has been located in downtown Denver, CO.

       31.     JM’s main research and development technical center is located in Littleton, CO.

       A. JM’s Patent

       32.     One method of manufacturing insulation is through rotary fiberization. The rotary

fiberization process begins by melting dry inorganic materials (e.g., sand) at very high

temperatures, and feeding the molten material (e.g., glass) into a “spinner disc,” which is

spinning at a high rate of speed. A spinner disc has peripheral walls extending from the disc and

a plurality of tiny orifices in the wall. The centrifugal force caused by the high speed rotation of

the spinner disc forces the glass against the peripheral wall of the spinner disc and through

hundreds of tiny orifices in the peripheral wall of the spinner disc. These fine strands of glass,

often referred to as fibers, can be collected and manufactured into various insulations, including

“fiberglass” products.

       33.     For a number of different reasons—including the extremely high temperatures,

relatively fast change in temperature, and great pressures the spinner disc is subjected to—the


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metallurgical composition of the spinner disc is of critical importance. Indeed, the alloys used

for spinner discs are often considered “super alloys” and have many of the same qualities as

alloys used, for example, in jet engine turbine blades.

       34.      Because of the extreme conditions in the manufacturing process, the spinner discs

have a relatively short service life. As a result, JM continually sought new compositions and

designs of the spinner discs to extend the life and reduce the costs of manufacture to gain a

competitive advantage.

       35.      In the 1990s, JM was using a spinner disc alloy that was given the unique internal

JM designation of “GX4”.

       36.      Through extensive and methodical research and development and trial and error,

JM developed a unique, novel, and nonobvious spinner disc alloy to replace the use of GX4,

which was given the unique internal JM designation of “C05”.

       37.      JM has invested millions of dollars in researching, developing, and creating its

own super alloy for use in spinner discs.

       38.      On September 2, 1999, Johns Manville International, now known as Johns

Manville, timely filed U.S. Patent Application 09/389,005 (“the ’005 application”) in the U.S.

Patent and Trademark Office which described and rightfully claimed JM’s C05 alloy as used in a

spinner disc.

       39.      On June 31, 2001, the ’005 application was issued as the ’979 patent.

       40.      Johns Manville owns the ’979 patent.

       41.      A complete, true and accurate copy of the ’979 patent is attached hereto as

Exhibit 1.


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        42.      The ’979 patent is entitled “spinner disc alloy.” The ’979 patent is directed to a

cobalt alloy for spinner discs used in rotary glass fiberization processes and, in particular, to a

cobalt alloy which extends the service life of spinner discs used in rotary glass fiberization

processes or exhibits some other desirable property related to either the fabrication or use of such

spinner discs.

        43.      Commercialization of the inventions in the ’979 patent created a significant

competitive advantage for JM.

        44.      The ’979 patent has four inventors: Defendant Johnson, Gary W. Smiley, Robert

Rushforth, and John Strothers. Each of those inventors assigned the ’979 patent to Johns

Manville International, now known as Johns Manville.

        B. JM’s Trade Secrets and Confidential Information

        45.      JM protects its confidential and proprietary business and technical information as

trade secrets.

        46.      JM takes reasonable steps to maintain the confidentiality of its confidential and

proprietary information, including but not limited to:

        a.       Requiring employees to sign employee agreements that include confidentiality

                 clauses.

        b.       Configuring its computer systems to require computer passwords and levels of

                 access established by management of each business unit to access confidential

                 and proprietary information.




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       c.     Configuring its computer systems to limit access to its confidential and

              proprietary information to those with a need-to-know, and those with a need-to-

              know may access only the information for which they have a need.

       d.     Requiring its vendors to sign nondisclosure agreements so that they cannot share

              JM’s confidential and proprietary information with outside third parties,

              including, but not limited to, JM’s competitors.

       e.     Requiring badge or keycard access to gain entry to buildings and properties.

       f.     Preventing certain employees and the public from viewing certain manufacturing

              operations involved in the production of insulation.

       g.     Reviewing all marketing material and other photos of JM equipment and

              processes to ensure that trade secrets are not displayed nor could be inferred.

       C. Johnson’s Employment with JM and Access to JM’s Trade Secrets.

       47.    Johnson began employment with Schuller Corporation, now known as Johns

Manville Corporation, on or about April 29, 1992.

       48.    On or about April 29, 1992, Johnson executed a U.S. and Canada Employee

Agreement Form (“Employee Agreement”).

       49.    The Employee Agreement states in pertinent part:

       In consideration of and as a condition of said employment, the undersigned employee
       agrees:
       ***
       That except as required in his duties to the Company [Schuller Corporation, now known
       as Johns Manville Corporation], the undersigned employee shall not disclose or use at
       any time, either during or subsequent to the said employment, any secret or confidential
       information of the Company or of Manville Corporation [now known as Johns Manville
       Corporation] or any subsidiary of Manville Corporation (whether or not developed by the
       undersigned employee) unless he shall first secure the Company’s written consent;


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       That the undersigned employee understands that any information, formula, procedure,
       drawing, device or compilation of data which is used in the Company’s business or that
       of Manville Corporation or of any subsidiary of Manville Corporation and which gives
       any of them an opportunity to obtain an advantage over competitors who do not know or
       use it, may constitute secret or confidential information.

       50.     For the next 15 years, JM expended significant time and resources to develop and

promote Johnson.

       51.     In 1992, Johnson was hired as a Senior Research Associate in the Metallurgy

Research and Development (“R&D”) Department, a position he held until approximately 1997.

In approximately 1997, Johnson was a Senior Research Associate for Corporate Research and

Development, a position he held until approximately 2004. In approximately 2004, Johnson was

a Senior New Product Development (“NPD”) Manager for the Roofing Supply Group (“RSG”).

When he resigned in 2007, his title was Senior Technical Manager of the Innovation and

Commercialization (“I&C”) Department.

       52.     Johnson was employed by Johns Manville Corporation from 1992 until 2007.

From 1993 until approximately 2004, Johnson was employed at JM’s Technical Center located

in Littleton, CO.

       53.     From 1992 until 2004, Johnson played a significant role in JM’s insulation

business. Among other things, Johnson was the named inventor of at least four JM patents

related to insulation and spinner discs, including the ’979 patent. Johnson was also aware of and

involved in JM’s development of confidential and proprietary information relating to insulation

and spinner discs, including trade secret manufacturing protocols for making JM spinner discs

(“Manufacturing Protocol Trade Secrets”), trade secret information regarding the design

(including metallurgical) of JM spinner discs (“Spinner Disc Design Trade Secrets”), and trade


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secret information regarding the manufacturing methods and protocols used with third party

vendors (“Trade Secrets with Vendors”) (collectively “JM Trade Secrets”).

         54.   Johnson received a computer from Johns Manville Corporation in connection with

his employment from which he could obtain confidential and proprietary information of the

business unit to which he had been granted access for limited use in the course of performing his

regular work-related duties.

         55.   Given the nature of Johnson’s position, he received access to critical, confidential

and proprietary information regarding research, development, production, strategy and other

matters that JM competitors, the general public, and to which only a few other JM employees

had access. Johnson also played a significant role in developing the critical, confidential and

proprietary information to which he had access.

         56.   In approximately April 2007, Johnson resigned from Johns Manville Corporation.

Johnson then consulted with Johns Manville from May 2007 to May 2008. The May 21, 2007

Consulting Contract was signed in Colorado and is governed by the laws of the State of

Colorado.

         57.   On information and belief, sometime after 2007 Johnson began working for

Knauf.

II.      Knauf and Johnson’s Patent Infringement and Trade Secret Misappropriation

         58.   Knauf is a direct competitor of JM in the fiberglass insulation and related

products market.

         59.   On information and belief, in approximately June of 2007, Johnson began

working as a paid consultant for Knauf while still living in Colorado.


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       60.     On information and belief, Johnson is currently an employee of Knauf and has the

employee title of Director of Special Projects.

       61.     On information and belief, at the time Johnson went to work for Knauf, Knauf did

not manufacture spinner discs.

       62.     It takes a significant amount of time, research, and know-how to develop and

manufacture spinner discs.

       63.     On information and belief, Knauf makes and uses a spinner disc alloy that directly

infringes Johns Manville’s ’979 patent. On information and belief, Knauf refers to the infringing

spinner disc alloy as “C05,” the JM internal designation for its patented alloy. In 2014, the C05

designation was seen by multiple JM individuals at multiple times and locations on multiple

Knauf labels on tubes that are believed to contain or ship spinner discs. On information and

belief, “C05” indicates a particular metallurgical alloy that when fabricated into a spinner disc

directly infringes Johns Manville’s ’979 patent.

       64.     On information and belief, Johnson disclosed and Knauf is using JM’s Trade

Secrets, including at least, but not limited to, Manufacturing Protocol Trade Secrets and Trade

Secrets with Vendors.

       65.     On information and belief, Knauf did not manufacture spinner discs prior to

employing Johnson, and began manufacturing spinner discs after hiring Johnson. On

information and belief, Knauf purchased spinner discs from third parties in 2007, but started

manufacturing its own spinner discs sometime after 2007.

       66.     The identity of JM’s spinner disc vendors is not publicly available. In 2014,

Johnson was seen in at least one of JM’s spinner disc manufacturing vendor’s locations. Also in


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2014, Knauf-labeled materials were identified by JM employees in at least one of JM’s

manufacturing vendor’s locations. As discussed above, on information and belief, Knauf is

using the C05 metallurgical alloy to have third-party vendors fabricate spinner discs in direct

infringement of Johns Manville’s ’979 patent. Also on information and belief, Knauf’s use of

the C05 alloy includes the use of the JM Trade Secrets, including at least, but not limited to,

Manufacturing Protocol Trade Secrets and Trade Secrets with Vendors.

                                           COUNT I
                            Infringement of U.S. Patent No. 6,266,979
                                  [Against Knauf and Johnson]

       67.     JM restates and incorporates by reference the allegations set forth in the

paragraphs above as though fully set forth herein.

        68.    On information and belief, Defendants have intentionally and willfully infringed

 and are actively infringing (literally or under the doctrine of equivalents, directly, contributorily,

 and/or by inducement) one or more of the claims of the ’979 patent under 35 U.S.C. §§ 271 and

 281-285, et seq.

       69.     On information and belief, Defendants have been aware of the ’979 patent.

       70.     JM has been damaged by Defendants’ infringement and will suffer irreparable

injury unless they are enjoined by this Court.

       71.     Defendants’ infringement of Johns Manville’s patent rights has damaged or will

damage JM, entitling JM to an award of lost profits, and not less than a reasonable royalty, as

well as damages for willful infringement, in an amount to be determined at trial.

                                           COUNT II
                                 Trade Secret Misappropriation
                                  [Against Knauf and Johnson]


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       72.      JM restates and incorporates by reference the allegations set forth in the

paragraphs above as though fully set forth herein.

       73.      JM is the owner of certain trade secrets within the meaning of the Colorado

Uniform Trade Secrets Act, C.R.S. § 7-74-102(4).

       74.      As a pioneer and leader in the insulation industry, JM has spent considerable sums

of money, time, and energy in the research and development of the JM Trade Secrets. JM has a

number of valuable trade secrets relating to insulation and spinner discs, including its

Manufacturing Protocol Trade Secrets, Spinner Disc Design Trade Secrets, and Trade Secrets

with Vendors.

       75.      The JM Trade Secrets, maintained by JM as a result of these efforts, are not

generally known to the outside public.

       76.      The fact that the JM Trade Secrets are kept secret at JM allows JM to maintain a

competitive advantage over its competitors and reap the associated rewards in the market place.

       77.      JM Trade Secrets are deserving of protection.

       78.      JM has made reasonable efforts to keep the JM Trade Secrets confidential and

prevent them from disclosure to unauthorized parties outside of JM.

       79.      Through his previous employment at Johns Manville Corporation, Johnson is in

possession of the JM Trade Secrets, and such information was made available to him under

circumstances requiring that he maintain the secrecy of the JM Trade Secrets.

       80.      Johnson knew that the information underlying the JM Trade Secrets were trade

secrets. Johnson was also aware that the JM Trade Secrets would be valuable to any competitor

of JM and that he had a duty to maintain the secrecy of the JM Trade Secrets.


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       81.     Knauf would have understood that the information contained within the JM Trade

Secrets would be considered a trade secret to JM. Given Johnson’s prior employment and senior

position with JM, Knauf would have understood that Johnson was under a duty to maintain the

secrecy of the information.

        82.    On information and belief, Defendants have misappropriated the JM Trade

 Secrets in violation of Colorado Uniform Trade Secrets Act, C.R.S. § 7-74-101-110, et seq., for

 the purpose of using and exploiting such information for their own economic interests, without

 license or permission from JM.

       83.     On information and belief, Defendants’ misappropriation of the JM Trade Secrets

has caused, and will continue to cause, JM irreparable injury and damages for which there is no

adequate remedy at law unless Defendants are enjoined by the Court.

       84.     On information and belief, in his position at Knauf, Johnson has used his

knowledge of the JM Trade Secrets to unlawfully compete.

       85.     On information and belief, Johnson has used and inevitably disclosed or will

inevitably disclose the JM Trade Secrets in the course of his employment position with Knauf

because he is developing or has developed a similar business and similar products for Knauf.

The likelihood of inevitable disclosure constitutes threatened disclosure of the JM Trade Secrets.

       86.     Johnson’s activities, current and threatened, are causing severe irreparable injury

to JM, including in the form of loss and diminution of its competitive positions in the

marketplace, loss of its ability to offer unique products, and lost opportunities to capitalize on its

status in the marketplace, for which there is no adequate remedy at law. Such activities are also




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directly and proximately causing additional significant economic damages to JM in an amount to

be proved at trial.

        87.      Defendants’ misappropriation of the JM Trade Secrets has damaged or will

damage JM, entitling JM to an award of actual and consequential damages, as well as damages

for unjust enrichment, in an amount to be determined at trial.

        88.      Defendants’ misappropriation of JM Trade Secrets is attended by circumstances

of fraud, malice, or willful and wanton disregard of JM’s rights, thereby entitling JM to an award

of exemplary damages.

                                            COUNT III
                                         Breach of Contract
                                         [Against Johnson]

        89.      JM restates and incorporates by reference the allegations set forth in the

paragraphs set forth above as though fully set forth herein.

        90.      On or about April 29, 1992, Johnson executed an Employee Agreement with

Johns Manville Corporation.

        91.      In the Employee Agreement, Johnson agreed, among other things, that he:

        shall not disclose or use at any time, either during or subsequent to the said employment,
        any secret or confidential information of the Company [Schuller Corporation, now known
        as Johns Manville Corporation] or of Manville Corporation or any subsidiary of Manville
        Corporation [now known as Johns Manville Corporation] (whether or not developed by
        the undersigned employee) unless he shall first secure the Company’s written consent.

        92.      Johnson voluntarily entered into the Employee Agreement with Johns Manville

Corporation.

        93.      The Employee Agreement is valid, enforceable, and supported by adequate

consideration.


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       94.     Johnson owed JM the contractual duties set forth in the Employee Agreement.

       95.     Johnson failed to comply with his promise that he “shall not disclose or use at any

time, either during or subsequent to the said employment, any secret or confidential information

of the Company [Schuller Corporation, now known as Johns Manville Corporation] or of

Manville Corporation [now known as Johns Manville Corporation] or any subsidiary of Manville

Corporation (whether or not developed by the undersigned employee) unless he shall first secure

the Company’s written consent.”

       96.     Johns Manville Corporation fully performed its obligations under the Employee

Agreement and has met all conditions precedent to the enforcement of the Employee Agreement.

       97.     As a result of the actions complained of herein, Johnson has breached the

Employee Agreement.

       98.     As a direct and proximate result of said acts, JM has suffered damages that were

foreseeable by Johnson in an amount to be determined at trial.

                                        COUNT IV
                 Breach of Implied Covenant of Good Faith and Fair Dealing
                                     [Against Johnson]

       99.     JM restates and incorporates by reference the allegations set forth in the

paragraphs above as though fully set forth herein.

       100.    On or about April 29, 1992, Johnson executed an Employee Agreement with

Johns Manville Corporation. That Employee Agreement required Johnson to act in good faith

and deal fairly in performing the terms of the contract.

       101.    Johns Manville Corporation fully performed its obligations under the Employee

Agreement and has met all conditions precedent to the enforcement of the Employee Agreement.


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       102.    On information and belief, Johnson did not act in good faith in his dealings with

JM. Without good faith and through conscious and deliberate acts, Johnson utilized the JM

Trade Secrets with a competitor of JM.

       103.    Johnson’s actions were not consistent with and were contrary to the agreed

common purpose of the Employee Agreement or with the reasonable expectations of JM.

       104.    As a result of this conduct, Johnson has breached the implied covenant of good

faith and fair dealing contained in the Employee Agreement and has frustrated the purpose of the

Employee Agreement. Johnson’s conduct has disappointed the reasonable expectations of JM,

thereby depriving JM of the benefits of the Employee Agreement.

       105.    As a direct and proximate cause of Johnson’s breach, JM has been damaged in an

amount to be proven at trial.

                                   PRAYER FOR RELIEF

       WHEREFORE, JM respectfully requests that the Court enter judgment in its favor

granting the following relief:

       A.      Enter judgment of infringement of the ’979 patent in favor of JM against

Defendants;

       B.      Enter an Order preliminarily and permanently enjoining Defendants and

Defendants’ officers, agents, servants, employees, and attorneys, including those who are acting

or claiming to act on Defendants’ behalf, and other persons who are in active concert or

participation with such Defendants officers, agents, servants, employees, and attorneys

(collectively “Defendant’s Agents”) from further acts of infringement of ’979 patent, including




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an order prohibiting defendants from making, using, selling, or offering to sell any product that

infringes or resulted from the infringement of the ’979 patent or colorable imitations;

        C.      Enter an Order preliminarily and permanently enjoining Defendants and

Defendants’ Agents from disclosing, revealing, using, showing, or otherwise disseminating any

and all of JM’s trade secret and confidential information;

        D.      Enter judgment in favor of JM and against Defendants for damages (including

reasonable royalties and/or lost profits, as well as general, special, consequential, incidental,

exemplary, punitive, and/or treble) in an amount to be determined at trial;

        E.      Enter judgment in favor of JM and against Defendants for pre-judgment interest

and post-judgment interest, as provided by law;

        F.      Enter judgment in favor of JM and against Defendants for JM’s reasonable costs

and attorneys’ fees, as provided by statute or otherwise as provided by law; and

        G.      Enter judgment awarding such other and further legal and/or equitable relief as

this Court deems just and proper.

                                         JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38, JM hereby demands a trial by jury of all

issues so triable.



Dated: March 13, 2015                   By:
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